      Case 2:10-cv-01840-IPJ     Document 155    Filed 11/23/11   Page 1 of 11            FILED
                                                                                 2011 Nov-23 AM 10:59
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


Alabama Gas Corporation,                     )
                                             )
                   Plaintiff,                )
                                             ) Civil Action No. 2:10-cv-1840-IPJ
vs.                                          )
                                             )
                                             )
Travelers Casualty and Surety                )
Company, et al.,                             )
                                             )
                   Defendants.               )



DEFENDANTS’ BRIEF IN OPPOSITION TO ALAGASCO’S MOTION TO
   LIMIT THE EXPERT TESTIMONY OF KATHLEEN J. ROBISON

      Defendants (collectively “Travelers”), by and through their attorneys,

respectfully submit this Brief in Opposition of Alagasco’s Motion to Limit the

Expert Testimony of Kathleen J. Robison.

                                   ARGUMENT

I.    ALAGASCO’S MOTION TO LIMIT MS. ROBISON’S TESTIMONY
      SHOULD BE DENIED
      Alagasco’s motion seeks to limit Ms. Robison’s opinion and testimony in

two ways. First, Alagasco argues that Ms. Robison, despite her years of

experience in handling claims, should not be allowed to opine whether Travelers’

determination that the EPA regulatory directives to Alagasco did not constitute a
       Case 2:10-cv-01840-IPJ   Document 155      Filed 11/23/11   Page 2 of 11




suit was “fairly debatable” at the time Travelers made its determination.

Alagasco’s Br. to Limit Test. of Kathleen Robison (“Alagasco’s Br.) at 3, ECF No.

123. Second, Alagasco focuses on one small portion of Ms. Robison’s opinion and

testimony in asserting that she should not be allowed to opine that Travelers acted

“reasonably” in stating in its initial acknowledgement letter to Alagasco that EPA’s

Request for Information was not a formal claim. Alagasco’s Br. at 6, ECF No.

123.

       Alagasco’s attempts to limit Ms. Robison’s testimony are contrary to the

Federal Rules of Evidence and applicable case law, which conclusively establish

that Ms. Robison is qualified by her knowledge and expertise to testify whether,

from a claims handling perspective, Travelers’ determination that the EPA

directives did not constitute a suit was, at a minimum, fairly debatable, and

whether Travelers acted reasonably in informing Alagasco that EPA’s initial

request for information was not a formal claim. Alagasco’s attacks on Ms.

Robison’s methodology are likewise meritless, as the record demonstrates that Ms.

Robison reached her conclusions based on a comprehensive, in-depth review of the

case and claim files and her own years of experience and developed expertise --

which is in fact the identical review conducted by Alagasco’s own proffered

expert. Moreover, Alagasco seeks to exclude Ms. Robison’s testimony on




                                          2
      Case 2:10-cv-01840-IPJ      Document 155      Filed 11/23/11    Page 3 of 11




precisely the same issues on which it proffers its own expert, and Travelers is fully

entitled to present expert testimony in direct rebuttal to Alagasco’s expert.

      Alagasco’s motion to limit Ms. Robison’s testimony therefore should be

denied.

      A.     The Federal Rules of Evidence and Applicable Case Law
             Demonstrate That Ms. Robison Is Qualified To Testify From A
             Claims Handling Perspective On The Reasonableness Of
             Travelers’ Claim Determinations

      As Federal Rule of Evidence 702 provides:

             If . . . specialized knowledge will assist the trier of fact to
             understand the evidence or to determine a fact in issue, a
             witness qualified as an expert by knowledge, skill,
             experience, training, or education, may testify thereto in
             the form of an opinion or otherwise, if (1) the testimony
             is based upon sufficient facts or data, (2) the testimony is
             the product of reliable principles and methods, and (3)
             the witness has applied the principles and methods
             reliably to the facts of the case.

FED. R. EVID. 702.

      In seeking to limit Ms. Robison’s testimony, Alagasco ignores Rule 702 and

cites generically to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

(1993), which is generally recognized as setting forth the criteria for scientific

expert testimony. But in situations involving non-scientific expert testimony like

the case here, “the trial judge must have considerable leeway in deciding in a

particular case how to go about determining whether particular expert testimony is

reliable.” Am. Gen. Life Ins. Co. v. Schoenthal Family, LLC, 555 F.3d 1331, 1338

                                            3
      Case 2:10-cv-01840-IPJ     Document 155      Filed 11/23/11   Page 4 of 11




(11th Cir. 2009), (citing Kumho Tire Co. Ltd. v. Carmichael, 526 U.S. 137, 152

(1999)). Thus, in a case where expert testimony does not encompass scientific

issues, a district court may decide that nonscientific expert testimony is reliable

based “upon personal knowledge or experience.” Id. at 150. In applying these

standards, numerous courts have recognized the propriety of allowing expert

testimony on insurance-related issues by experienced professionals like Ms.

Robison. See, e.g., Schoenthal Family, 555 F.3d at 1338 (permitting expert

testimony on general insurance industry underwriting standards and risk

management issues when proffered expert had “ample knowledge and experience

about that subject”); Diocese of St. Petersburg, Inc. v. Safety Nat’l Cas. Corp., No.

8:08-cv-950 2009 WL 2602451 (M.D. Fla. Aug. 25, 2009) (noting that the

Eleventh Circuit “has accepted the reliability of nonscientific expert testimony in

the area of insurance matters based upon an expert’s education and experience

where the court finds the expert to have ample knowledge and experience about the

subject”).

      Ms. Robison, based on her personal knowledge and experience, thus is

obviously qualified to opine from a claims handling perspective on whether

Travelers had a debatable reason for denying a duty to defend Alagasco from the

EPA regulatory directives, and likewise acted reasonably in informing Energen




                                           4
     Case 2:10-cv-01840-IPJ     Document 155    Filed 11/23/11   Page 5 of 11




that EPA requests for information did not constitute a formal claim.1 Ms. Robison

has approximately forty years of experience in property and casualty claim

operations and adjusting claims, and currently is an insurance management

consultant. Expert Report of Kathleen Robison (“Robison Report”) at 1 and Ex. A,

attached as Ex. 1; Dep. Tr. of Kathleen Robison (“Robison Dep.”) at 20:14-21:2,

attached to Alagasco’s Br. at Ex. B, ECF No. 123. She has held multiple positions

at insurance companies, and has dealt with numerous environmental insurance

claims. Id.; Robison Dep.(Ex. B, ECF No. 123) at 27:24 – 28:22; 35:2-35:20. She

is a Chartered Property Casualty Underwriter, Associate in Underwriting,

Associate in Risk Management, and Associate in Claims of the American Institute

of Chartered Property and Casualty Underwriters.2 Robison Report (Ex. 1) at Ex.




1
  Alagasco’s attack on whether Travelers’ first acknowledgement letter in response
to Energen’s initial forwarding of EPA’s request for information to Travelers was
“reasonable” is in fact utterly irrelevant and has no application to Alagasco’s
breach of contract and bad faith claims, as Travelers simply reserved its rights at
the time. See Alagasco’s Br. at 6-7. In seeking to exclude Ms. Robison’s
testimony on this relatively minor point, Alagasco relies on an argumentative and
self-evident excerpt of Ms. Robison’s testimony, see Alagasco’s Br. at 7-8, and
Alagasco uses portion of its motion to limit testimony to reargue the merits of its
case. Id. See Alagasco’s Br. at 6-9, n. 2.
2
  The Chartered Property Casualty Underwriter designation required Ms. Robison
to pass ten exams over the course of five years, including an exam on general
liability insurance. See Scotts Co. LLC v. Liberty Mut. Ins. Co., 606 F. Supp. 2d
722, 740 (S.D. Ohio 2009) (setting forth CPCU criteria).

                                         5
      Case 2:10-cv-01840-IPJ       Document 155   Filed 11/23/11   Page 6 of 11




A at 2. Her practical and educational experience is thus directly germane to the

insurance issues in this case. 3

      Ms. Robison’s experience in handling and supervising insurance claims thus

provides a sound basis for determining what is a reasonable and appropriate

response by an insurer to a PRP letter. Robison Dep. (Ex. B, ECF No. 123) at

50:9-14; Robison Report (Ex. 1) at 2. Alagasco’s motion to limit her testimony

therefore should be denied. E.g., Schoenthal Family, 555 F.3d at 1338.

      B.     Alagasco’s Assertion That Ms. Robison’s Opinions Are Not Based
             On A “Reliable Methodology” Is Rebutted By Ms. Robison’s
             Expert Report And Deposition Testimony
      Alagasco’s assertion that Ms. Robison utilized “unreliable methodology” in

reaching her conclusions is rebutted by her report and her deposition testimony.

Ms. Robison reviewed the Travelers claim file; analyzed the relevant portions of

the Travelers policies at issue; reviewed pleadings and deposition testimony in this

case; reviewed “Environmental Coverage Case Law” by Munich Re America (20th

Edition, 2009, herein “Munich Re Book”); and examined the views of Travelers’


3
 Ignoring Ms. Robison’s considerable claims experience, Alagasco asserts that
Ms. Robison’s lack of a law degree makes her unqualified to opine on whether a
PRP letter constitutes a suit. It is more than ironic that Alagasco makes this
argument even though it also simultaneously seeks to exclude the testimony of
Judge Bernard Harwood essentially because of his extensive legal background.
Alagasco’s own expert also opines on this issue, even though he is not a practicing
attorney. Expert Report of Peter Hildebrand (“Hildebrand Report”) at 2, 18-19,
attached as Ex. 2.

                                          6
      Case 2:10-cv-01840-IPJ     Document 155      Filed 11/23/11   Page 7 of 11




claims department. Robison Report (Ex. 1) at Ex. B; Robison Dep. (Ex. B, ECF

No. 123) at 101:5-104:10. This review encompassed essentially the same material

reviewed by Alagasco’s own expert, Mr. Hildebrand. Hildebrand Report (Ex. 2) at

Ex. B. After reviewing the information, Ms. Robison prepared a chronology of the

correspondence between Alagasco and Travelers. Robison Dep. (Ex. B, ECF No.

123) at 17:16-18:9; Robison Report (Ex. 1) at 2-9. Additionally, she recalled

similar prior experiences where she determined that an information request was not

a formal claim (i.e., in the context of dealerships). Robison Dep. (Ex. B, ECF No.

123) at 113:13-113:23. In sum, based on her examination of the documents

coupled with her professional experience, Ms. Robison formed an opinion on

whether Travelers acted reasonably with respect to an EPA request for information

and PRP letter, and her opinion on whether an EPA request for information or PRP

letter constitutes a “suit” triggering a defense obligation thus is based on the

application of her wide-ranging insurance industry experience to the facts of this

case. Robison Dep. (Ex. B, ECF No. 123) at 112:1-112:25. Ms. Robison’s

opinions are clearly admissible, and it is the jury’s role, not Alagasco, to assess the

sufficiency of Ms. Robison’s methodology and many decades of insurance industry

experience. 4


4
 An objection to an expert’s knowledge and experience goes to the weight of an
expert’s testimony, not its admissibility. See Dickerson v. Cushman, Inc., 909 F.
Supp. 1467, 1472 (M.D. Ala. 1995); see also Maiz v. Virani, 253 F.3d 641, 665
                                           7
      Case 2:10-cv-01840-IPJ     Document 155     Filed 11/23/11   Page 8 of 11




      C.     Ms. Robison’s Expert Report And Testimony Directly Respond
             To The Opinions And Testimony Of Alagasco’s Proffered Expert

      Alagasco’s motion also should be denied because Ms. Robison’s expert

report and testimony directly rebut the opinions of Alagasco’s own proposed claim

handling expert Peter Hildebrand, and therefore Alagasco’s motion should be

denied. FED. R. EVID. 702. Alagasco retained Mr. Hildebrand to testify about

“[w]hether a reasonably competent claims professional would conclude that

Travelers’ position that it had no duty to defend Alagasco against claims by the

EPA because they did not constitute a ‘suit’ had a reasonable or fairly debatable

legal and/or factual justification under Alabama law?” Hildebrand Report (Ex. 2)

at 6. Mr. Hildebrand’s expert report opines that “[a] reasonably competent claims

professional would conclude that Travelers’ position that it had no duty to defend

Alagasco against claims by EPA because they did not constitute a ‘suit’ had no

reasonable or fairly debatable legal and/or factual justification under Alabama

law.” Id. at 18. Mr. Hildebrand also opines that “[i]t is well established that on

(11th Cir. 2001) (plaintiff’s economics expert was qualified to opine about
plaintiff’s losses arising from a real estate investment scheme; his lack of real
estate development experience went to foundation for expert’s testimony, not to his
qualifications). Likewise, Alabama jurisprudence recognizes that, “as a general
rule, questions relating to the bases and sources of an expert’s opinion affect the
weight to be assigned that opinion rather than its admissibility and should be left to
the jury’s consideration.” Foreman v. Am. Road Lines, Inc., 623 F. Supp. 2d 1327,
1336 (S.D. Ala. 2008), citing Primrose Operating Co. v. Nat’l Am. Ins. Co., 382
F.3d 546, 562 (5th Cir. 2004).


                                          8
      Case 2:10-cv-01840-IPJ    Document 155      Filed 11/23/11   Page 9 of 11




environmental issues without clear precedent in Alabama, the Courts will follow

the majority rule which would require Travelers to defend against the allegations in

a PRP letter…” Id. at 19 (emphasis added).

      Mr. Hildebrand, like Ms. Robison, has several years of claims handling

experience. Id. at 2. Ms. Robison thus is fully qualified, based on her “knowledge,

skill, experience, training or education,” to respond to Mr. Hildebrand’s assertions.

Inam Int’l, Inc. v. Broan-Nutone LLC, No. 1:08-cv-0852, 20907 WL 4730649 at *4

(N.D. Ga. Sept. 21, 2007). After review of the factual record, Ms. Robison’s

report and testimony respond directly to Mr. Hildebrand’s “expert” assertions. Ms.

Robison concludes that “the issue of whether or not the State of Alabama

considered a PRP notification by the USEPA as a suit was fairly debatable at the

time Travelers made its determination.” Robison Report (Ex. 1) at 2. Ms.

Robison’s opinions thus directly address -- and rebut -- Mr. Hildebrand’s opinions

and are precisely the type of testimony allowed under the Federal Rules. See FED.

R. CIV. P. 26(a)(2)(D)(ii).

                                  CONCLUSION

      For the reasons stated herein, Travelers respectfully requests that the Court

deny Alagasco’s Motion to Limit the Expert Testimony of Kathleen J. Robison.




                                          9
     Case 2:10-cv-01840-IPJ    Document 155      Filed 11/23/11   Page 10 of 11




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      The undersigned certifies that the foregoing document has been prepared

with 14-point type as required by the Court in its Administrative Procedures for

Filing, Signing, and Verifying Pleadings and Documents at Section II(A)(1).

Dated: November 23, 2011

                                             Respectfully submitted,


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                                        10
     Case 2:10-cv-01840-IPJ    Document 155     Filed 11/23/11   Page 11 of 11




                         CERTIFICATE OF SERVICE

      I hereby certify that on November 23, 2011, a copy of the foregoing

document “Defendants’ Brief in Opposition to Alagasco’s Motion to Limit the

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                                        11
